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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO
EASTERN DIVISION

UNITED STATES OF AMERICA, INDICTMENT

)
)
: CASE NO}, > 18 CR 229
WILLIAM L. WINE, JR., : FUDGE JUDGE ADA iS
)
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)
)

Plaintiff,

 

 

Defendant. Title 18, Sections 1343 and 2,

United States Code

GENERAL ALLEGATIONS

 

1. At all times material herein, Defendant WILLIAM L. WINE, JR. (“WINE”),
formerly a resident of the State of California, moved to the Cleveland, Ohio metropolitan area
within the Northern District of Ohio, Eastern Division, in 2013.

2. On or about August 14, 2012, Kenton Industries, Ltd: (“Kenton”) was organized
under the laws of the State of Ohio as limited liability company for the purpose of engaging in
mineral processing in Cleveland, Ohio. Kenton’s Articles of Incorporation reflect that K.F., an
individual not charged herein, served as its Managing Member. Kenton maintained a bank
account at U.S. Bank, ending in #8577 (“Kenton account”), in Euclid, Ohio, within the Northern
District of Ohio, Eastern Division.

3. At all times material herein, Trade Monster (“Trade Monster”) was an on-line
brokerage service investors and investment managers used to buy and sell securities and evaluate

the performance of stocks and other investment instruments. Trade Monster used Apex
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Clearing Corporation (“Apex”) with offices in Lake Success, New York, as a clearing house to .
conduct transactions for its customers.

4. At all times material herein, Defendant was associated with an attorney, J.C., an
individual not charged herein, who practiced law in Pasadena, California. J.C. was affiliated
with a Pasadena, California law firm (“Pasadena Firm”) who utilized a legal services trust fund
account at Gilmore Bank ending in #5909 (“trust account”) in Pasadena, California. J.C. and

the Pasadena Firm also filed Kenton’s Articles of Incorporation with the State of Ohio.

COUNTS 1 - 3
(Wire Fraud, in violation of 18 U.S.C. § 1343)
The Grand Jury charges:
5. The general allegations in paragraphs | through 4 are incorporated herein and

realleged by reference.

6. ~ From in or around March 2012, through in or around May 2015, in the Northern
District of Ohio, Eastern Division, and elsewhere, Defendant WILLIAM L. WINE, JR., devised
and intended to devise a scheme and artifice to defraud his investment clients, including J.D.,
T.V., and D.M., individuals not charged herein, and to obtain money and property by means of
false and fraudulent pretenses, representations, and promises as set forth below.

It was part of the scheme and artifice to defraud that:

7. Prior to moving to Cleveland, Ohio, Defendant offered his services as an
investment advisor and gained control over the individual retirement accounts (“IRAs”) of
W.W., a relative, not charged herein, and W.W’s, associates, individuals identified as J.D., T.V.,
andD.M. W.W.,J.D., T.V., and D.M. are all residents of the State of California.

8. At all times material herein, Defendant worked with K.F. at Kenton. From in or
around 2013, through in or around 2014, Defendant and K.F: resided together at an address on

West 9" Street in Cleveland, Ohio.
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J.D.’s Investments

9, In or around 2011, J.D. began to transfer his IRAs to Defendant due to a recent
divorce. Defendant told J.D. that he would use Trade Monster to manage the IRA funds.

10. From on or about April 9, 2012, through on or about May 23, 2013, J.D.’s monies
were transferred and caused to be transferred from his IRAs to the Pasadena Firm’s trust account,

without J.D.’s knowledge, on the dates and amounts set forth in the chart below:

 

 

 

 

 

 

 

Approximate Date Approximate Amount
April 9, 2012 $37,500
June 27, 2012 $164,000
May 23, 2013 $87,500

 

11. On or about May 24, 2013, Defendant wired and caused to be wired by instructing
J.C. or another individual at the Pasadena Firm, a portion of the monies deposited into the
Pasadena Firm’s trust account noted above in paragraph 4, to send approximately $65,000 to the
Kenton account.

12. From in or around July 2012 through in or around May 2013, Defendant did not
provide any documents memorializing the transfer of funds described above, a contract regarding
the management of funds, or give monthly statements reflecting J.D.’s account activity.
Defendant told J.D. to expect receiving monthly distributions of approximately $5,000 to $8,000
starting in March 2015.

13. At various times, J.D. signed blank distribution forms at Defendant’s direction.
Defendant also executed J.D.’s signature on Trade Monster documents without J.D.’s knowledge

or consent.
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14. In or around March 2014, J.D. learned that $50,000 of his IRA monies had been
invested in Kenton without his permission. Defendant also sent J.D. an email with a video link
explaining Kenton’s operations.

15. On or about May 15, 2015, Defendant sent J.D. an email which provided
assurances that J.D. would begin receiving monthly distributions in July 2015.

16. In or around early 2015, W.W. told J.D. that all his IRA monies transferred to
Defendant were liquidated and there were no remaining funds at Trade Monster.

T.V.’s Investments

17. In or around the Fall of 2012, T.V. decided to move her retirement investments to
Defendant’s management based on his representations that he was an expert in investing and
administering substantial assets for W.W.

18. In or around the Fall of 2012, T.V. signed IRA Distribution Request forms, at
Defendant’s instruction, which she believed allowed distributions upon her reaching 65 years of
age.

19. From on or about October 19, 2012 through on or about June 24, 2013, Defendant
used the aforementioned IRA Distribution Request form to transfer monies, without T.V.’s prior
knowledge and consent, from her retirement accounts to the Pasadena Firm’s trust account on the

dates and amounts set forth in the chart below:

 

 

 

 

 

 

Approximate Date Approximate Amount
October 19, 2012 $120,000
June 24, 2013 $35,000

 
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20. On or about October 22, 2012, Defendant wired and caused to be wired by
instructing J.C. or another individual at the Pasadena Firm, a portion of the monies deposited into
the Pasadena Firm’s trust account noted above in paragraph 4, to send approximately $60,000 to
the Kenton account.

21. On or about June 25, 2013, Defendant wired and caused to be wired by instructing
J.C. or another individual at the Pasadena Firm, a portion of the monies deposited into the
Pasadena Firm’s trust account noted above in paragraph 4, to send approximately $18,000 to the
Kenton account.

22. Upon transferring her retirement funds, Defendant advised T.V. that 10% of her
monies would be invested in Kenton with the remaining 90% placed under his management.
Defendant also promised a monthly retirement income of $3,000 from T.V.’s retirement
investment upon her turning 65 years of age.

23. In or around October 2012, T.V. told Defendant that she needed approximately
$30,000 to purchase a vehicle for a relative. Defendant indicated that he would set aside $8,000
to cover the taxes arising from the $30,000 distribution. Defendant failed to send T.V. $8,000 to
cover her tax liability and made one payment to the IRS on her behalf. T.V. entered into a
payment plan to pay the remaining tax due and owing to the IRS.

24. In or around March 2013 and in and around March 2014, Defendant prepared
T.V.’s tax returns for the 2012 and 2013 tax years. Asa result, T.V. owed an additional $20,000
to the IRS.

25. Going forward, Defendant did not send T.V. any account statements or other

documentation reflecting the value of her investment accounts. Defendant did not provide any
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documents memorializing the transfer of funds described above, a contract regarding the
management of funds, or give monthly statements reflecting T.V.’s account activity. Other than
the $30,000 distribution described above, T.V. did not receive any other distributions or
withdrawals from her retirement accounts.

D.M.’s Investments

26. On or about March 17, 2011, D.M. had an IRA account and gave Defendant
limited management authority over the account pursuant to a “Limited Trading Authorization
Agreement” agreement they executed. At the time, D.M.’s IRA account was valued at
approximately $630,000. Defendant regularly provided account statements to D.M. for a period
of time afterwards.

27.  Inor around late 2011 through in or around early 2012, Defendant instructed
D.M. to sign forms for the purpose of receiving monthly IRA distributions.

28. On or about April 12, 2012, Defendant diverted approximately $500,000 from
D.M.’s Trade Monster IRA account to the Pasadena Firm’s trust account. Defendant told D.M.
that the transaction was an IRA rollover and that some of D.M.’s funds were invested in Kenton.
Defendant provided updates and cellular telephone video regarding Kenton’s operations while

asking for additional investments in Kenton.
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29. From on or about March 19, 2012, through on or about April 10, 2012, Defendant
transferred monies from D.M.’s IRA account to the Pasadena Firm’s trust account on the dates

and in the amounts set forth in the chart below:

 

 

 

Approximate Date Approximate Amount
March 19, 2012 $22,000
April 10, 2012 $475,000

 

 

 

 

30. From in or around January 2012 through in or around September 2012, D.M.
received monthly distribution checks from Defendant of approximately $5,500.

31.  Inor around July 2013, Defendant visited D.M.’s residence in California and
advised that D.M.’s investments were managed properly and producing good returns.

Defendant further stated that the returns on D.M.’s investments were very lucrative and would
generate approximately $1,000,000 yearly. »

32. Onor about September 8, 2014, D.M. received a letter from the IRS indicating
that his 2012 individual tax return was improperly prepared as it failed to report approximately
$524,500 in taxable income arising from the monies withdrawn from Trade Monster through
Apex. The IRS letter further indicated that D.M. owed approximately $286,000 in additional
taxes, penalties and interest. Defendant prepared D.M.’s tax returns for 2012 and told D.M. that
the IRS’ letter was sent in error.

33. On or about May 11, 2015, Defendant sent an email from the State of Ohio to the
State of California, in response to D.M.’s inquiries about the status of his investments, indicating

that Kenton was “very close” to becoming a profitable business.
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The Violation

34, From in or around March 2012, to in or around May 2015, without J.D., T.V. and
D.M.’s knowledge or consent, Defendant wired and caused to be wired monies from J.D., T.V.
and D.M.’s IRA and retirement investment accounts to the Pasadena Firm’s trust account and
sent wire communications from the State of Ohio to the State of California to enrich himself and
others through bank accounts, including the Kenton account.

35. On or about the dates listed below, in the Northern District of Ohio, Eastern
Division, and elsewhere, Defendant, WILLIAM L. WINE, JR., for the purpose of executing the
scheme and artifice to defraud his clients, to enrich himself and others to obtain money and
property by means of false and fraudulent pretenses, representations, and promises, transmitted
or caused to be transmitted by means of wire communication in interstate commerce, writings,
signs, signals, pictures and sounds for the purpose of executing such a scheme or artifice, each

constituting a separate count:

 

 

 

 

 

 

Count | Approximate Dates Description
1 May 24, 2013 Wires from the trust account to the Kenton account in the
amount of approximately $65,000, belonging to J.D.
2 June 25, 2013 Wires from the trust account to the Kenton account in the
amount of approximately $18,000, belonging to T.V.
3 May 11, 2015 Defendant’s email sent from the State of Ohio to D.M. in the
State of California.

 

 

 

All in violation of Title 18, United States Code, Section 1343.

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government
Act of 2002.
